    Case 1:21-cv-02221-SHS-BCM Document 672 Filed 05/25/23 Page 1 of 1



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 HOUSING RIGHTS INITIATIVE,
                             Plaintiff,
                                                   21-cv-2221 (SHS)

              -against-                                ORDER


 COMPASS, INC. ET AL.,
                             Defendants.
SIDNEY H. STEIN, U.S. District Judge.

       The Court has received the joint letter dated April 28, 2023 submitted by the
parties setting forth their respective positions regarding a case management schedule.
(ECF No. 661.) The Court has decided not to bifurcate discovery in this matter.
      It is hereby ordered that:

       1. The last date for initial disclosures is June 2, 2023;
       2. The last date to amend the pleadings and join other parties is September 1,
          2023;
       3. The last date for fact discovery is December 29, 2023;
       4. The last date to disclose the identity of experts is March 1, 2024; and
       5. The last date for expert discovery is June 28, 2024.

      This action is being referred to Magistrate Judge Barbara Moses for the resolution
of any discovery disputes.

Dated: New York, New York
       May 24, 2023
                                           SO ORDERED:



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